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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION
                                                    :
Carissa Grubel,                                     :
                                                    :
                        Plaintiff,                  : Civil Action No.: ____________
        v.                                          :
                                                    : COMPLAINT AND DEMAND FOR
PMAB, LLC; and DOES 1-10, inclusive,                : JURY TRIAL
                                                    :
                        Defendants.                 :
                                                    :
                                                    :

        For this Complaint, the Plaintiff, Carissa Grubel, by undersigned counsel, states as

follows:

                                           JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendant and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Plaintiff resides in this District and a substantial portion of the acts giving rise to this action

occurred in this District.
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                                            PARTIES

       4.      The Plaintiff, Carissa Grubel (“Plaintiff”), is an adult individual residing in

Simpsonville, South Carolina, and is a “consumer” as the term is defined by 15 U.S.C. §

1692a(3) and is a “person” as the term is defined by 47 U.S.C. § 153(39)

       5.      Defendant PMAB, LLC (“PMAB”), is a North Carolina business entity with an

address of Two Lake Point Plaza, 4135 South Stream Boulevard, Suite 400, Charlotte, North

Carolina 28217, operating as a collection agency, and is a “debt collector” as the term is defined

by 15 U.S.C. § 1692a(6) “person” as the term is defined by 47 U.S.C. § 153(39).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by PMAB and

whose identities are currently unknown to Plaintiff. One or more of the Collectors may be joined

as parties once their identities are disclosed through discovery.

       7.      PMAB at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under 15

U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to PMAB for collection, or

PMAB was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).



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   B. PMAB Engages in Harassment and Abusive Tactics

       12.     Beginning in or around August of 2014, PMAB contacted Plaintiff in an attempt

to collect the Debt.

       13.     PMAB called Plaintiff’s cellular telephone [864-906-XXXX] by using an

automated telephone dialing system (“ATDS” or “Predictive Dialer”) and by using an artificial

or prerecorded voice.

       14.     When Plaintiff answered the calls from PMAB she was met with a prerecorded

voice instructing her to dial “1”.

       15.     In September of 2014, during a live conversation with PMAB, Plaintiff advised

PMAB that she did not owe the Debt and instructed PMAB to send her proof of the Debt.

       16.     Despite Plaintiff’s demand, PMAB failed to send her a written letter within five

days of its initial communication with Plaintiff.

       17.     PMAB also failed to inform Plaintiff it was calling in an attempt to collect a debt.

       18.     On another occasion, Plaintiff spoke to PMAB and instructed it to cease calling

her cellular telephone, as the calls were causing Plaintiff a great deal of frustration.

       19.     Despite Plaintiff’s explanation and request, PMAB continued calling Plaintiff at

an excessive and harassing rate.

                                              COUNT I

        VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT –
                           15 U.S.C. § 1692, et seq.

       20.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.




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        21.     Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged in

behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

        22.     Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused a

phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

        23.     Defendants’ conduct violated 15 U.S.C. § 1692d(6) in that Defendants placed

calls to the Plaintiff without disclosing the identity of the debt collection agency.

        24.     Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used unfair

and unconscionable means to collect a debt.

        25.     Defendants’ conduct violated 15 U.S.C. § 1692g(a) in that Defendants failed to

send Plaintiff an initial letter within five days of its initial contact with Plaintiff as required by

law.

        26.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        27.     Plaintiff is entitled to damages as a result of Defendants’ violations.

                                              COUNT II

        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                            47 U.S.C. § 227, et seq.

        28.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        29.     Without prior consent/having revoked consent, PMAB contacted the Plaintiff by

means of automatic telephone calls or prerecorded messages at a cellular telephone in violation

of 47 U.S.C. § 227(b)(1)(A)(iii).


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       30.     Defendants continued to place automated calls to Plaintiff’s cellular telephone

using prerecorded voice, knowing that it lacked consent to call her number. As such, each call

placed to Plaintiff was made in knowing and/or willful violation of the TCPA, and subject to

treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).

       31.     The telephone number called by PMAB was assigned to a cellular telephone

service for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

       32.     The calls from PMAB to Plaintiff were not placed for “emergency purposes” as

defined by 47 U.S.C. § 227(b)(1)(A)(i).

       33.     PMAB’s telephone system has the capacity to store numbers in a random and

sequential manner and uses the system to place the calls.

       34.     As a result of each call made in negligent violation of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call in violation of the TCPA

pursuant to 47 U.S.C. § 227(b)(3)(B).

       35.     As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).


                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

                  1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendants;

                  2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                      against the Defendants;

                  3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

                      1692k(a)(3);


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                4. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                5. Punitive damages; and

                6. Such other and further relief as may be just and proper.

                   TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: November 19, 2014

                                           Respectfully submitted,

                                           By

                                           Brian J. Headley, Esquire

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